     Case: 1:15-cv-06178 Document #: 282 Filed: 02/08/19 Page 1 of 5 PageID #:10203




                      UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION
SYED A. ALI,                           )
                                       )
             PLAINTIFF,                )   Case no.: 15-cv-06178
                                       )
             v.                        )
                                       )
PORTFOLIO RECOVERY ASSOCIATES, LLC ) Judge Sharon Johnson Coleman
and BLITT & GAINES, P.C.               ) Magistrate Judge Mary M. Rowland
and FREEDMAN ANSELMO LINDBERG, LLC )
n/k/a ANSELMO LINDBERG OLIVER, LLC     )
                                       )
             DEFENDANTS.               )


    PLAINTIFF’S OBJECTIONS TO DEFENDANT FREEDMAN ANSELMO LINDBERG,
                            LLC’S BILL OF COSTS

         Plaintiff, by and through counsel, respectfully requests that this Honorable Court exercise

its discretion under Fed. R. Civ. P. 54(d) and 28 U.S. Code § 1920 and strike certain portions of

the Bill of Costs (Dkt. # 255) submitted by Defendant Freedman Anselmo Lindberg, LLC

(“FAL” or “Defendant”).

         Introduction

         On October 9, 2018, FAL filed a bill of costs seeking $3,561.87 in costs from Plaintiff.

(Dkt. #255). While Plaintiff does not object to all costs that Defendant is seeking, several of

Defendant’s requests are unnecessary, excessive or otherwise unsupported by evidence and

should be stricken.1

         Pursuant to Fed. R. Civ. P. 54(d)(1), “[u]nless a federal statute, these rules, or a court

order provides otherwise, costs—other than attorney’s fees—should be allowed to the prevailing


1
 Plaintiff intends to appeal the Court’s decision granting summary judgment in favor of FAL . In responding to the
Bill of Costs Plaintiff does not waive, and expressly reserves, any and all right to challenge the Court’s
determination of FAL’s liability in this, and to seek vacature and reversal of any award of costs to FAL should
Plaintiff’s appeal result in the reversal of all or any portion of the Court’s order and judgment in FAL’s favor.

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  Case: 1:15-cv-06178 Document #: 282 Filed: 02/08/19 Page 2 of 5 PageID #:10203




party.” The determination of whether costs should be awarded remains within the discretion of

the district court. O.K. Sand & Gravel, Inc. v. Martin Marietta Techs., Inc., 36 F.3d 565, 571

(7th Cir. 1994). The initial burden is on Defendant to demonstrate that the costs were necessary

and reasonable. Trustees of the Chicago Plastering Inst. Pension Trust v. Cork Plastering Co.,

570 F.3d 890, 906 (7th Cir. 2009).

        1.      Transcripts

        A.      FAL seeks reimbursement of $139.15 for “Transcript of digital proceedings

before the Hon. Sidney I Schenkier”, taken on May 15, 2016 and May 31, 2016. This transcript

consists of 23 pages that FAL paid the daily rate of $ 6.05 per page, rather than the ordinary

price of $3.65 per page. FAL has provided no evidence that the transcript was so urgent that

paying the daily rate was necessary and does not even describe what the hearing was specifically

for. It is also unclear why FAL needed this transcript in the first place. Costs for an expedited

transcript are allowable at a rate of $4.85 per page for seven-day transcripts or $6.05 per page for

daily transcripts, (N.D. Ill. Gen. Order 12-0003), if they are “reasonably necessary,” Fletcher v.

Chicago Rail Link, LLC, 2007 WL 4557816, at *3 (N.D. Ill. 2007). It is unclear specifically what

purpose FAL sought the transcript of this hearing for and it does not appear to be necessary, and

thus not taxable. As a result, Plaintiff respectfully requests that the request for $139.15

associated with this transcript be stricken. In the alternative, Plaintiff respectfully requests that

the charge be reduced to what FAL would pay for the ordinary rate and reduce the bill of costs

by $55.20.

        B.      FAL seeks $763.70 for the transcript of the Syed A. Ali deposition. While

Plaintiff does not object to $682.50 for the certified transcript, Plaintiff requests that the charge

of $81.20 be stricken, since it is for exhibits, which should not be compensable.



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  Case: 1:15-cv-06178 Document #: 282 Filed: 02/08/19 Page 3 of 5 PageID #:10203




        C.      $4.90 for exhibits to the Yasmeen Ali deposition should be stricken. Copies for

exhibits that are already in the possession of a party are not “necessarily obtained” for the

purposes of transcript costs and are thus not compensable. See, e.g., Thayer v. Chiczewski, No.

07 CV 1290, 2010 WL 3087447, at *9 (N.D. Ill. Aug. 4, 2010)

        D.      The $35 charge for the “electronic transcript” and $4.95 charge for Exhibits for

the Barbara Nilsen deposition should be stricken, as they are extraneous to the transcript. While

the actual transcript costs may be taxed, “[a]dditional costs for disks, manuscripts, word indexes,

extra copies, or delivery/shipping charges are not generally recoverable.” Telular Corp. v.

Mentor Graphics Corp., 2006 U.S. Dist. LEXIS 4484, at *10 (N.D. Ill. 2006).

        E.      The Mark Anderson deposition included 657 pages of exhibits, as well as the

certified transcript, for a total cost of $625.25. Because it is not clear what portion of the total

cost of the transcripts was for exhibits and what was for the actual certified transcript, Plaintiffs

request the total $625.25 be stricken.

        Because certain portions of Defendant’s transcript costs were unnecessary, Plaintiff

requests that the following costs be stricken:


 Transcript for Report of Proceedings
 before Judge Schenkier on 5/15/16 and           $139.15
 5/31/16
 Exhibit costs for Syed A. Ali Deposition        $81.20
 Exhibit Costs for Yasmeen Ali
                                                 $4.95
 deposition
 Extraneous charges for Barbara Nilsen
                                                 $39.95
 Deposition
 Mark Anderson deposition                        $625.25
 Total Reduction                                 $890.50

        Wherefore, Plaintiffs respectfully requests that the above costs be stricken and disallowed

from Defendant’s Bill of Costs, and for any other relief that this Honorable Court deems just.


                                                   3
  Case: 1:15-cv-06178 Document #: 282 Filed: 02/08/19 Page 4 of 5 PageID #:10203




                                                              Respectfully submitted,

                                                      By:   /s/ Bryan Paul Thompson


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                                         4
  Case: 1:15-cv-06178 Document #: 282 Filed: 02/08/19 Page 5 of 5 PageID #:10203




                               CERTIFICATE OF SERVICE

I, Bryan Paul Thompson, an attorney, hereby certify that on Friday, February 8, 2019, I caused a
true and accurate copy of the foregoing document to be filed via the court's CM/ECF electronic
filing system, which sent notice via email to all counsel of record in the above captioned case.

                                                                        Respectfully Submitted,

                                                                      By: Bryan Paul Thompson




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